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03122109 (RWS)
06274869 (JCE)        RWS:et                8/29/16                 BLUE           21689-6-79

                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JEANETTA MATICHAK,                          )
                                            )
                      Plaintiff,            )
                                            )
v.                                          )       No.:    16-CV-05877
                                            )
JOLIET PARK DISTRICT and                    )
DOMINIC EGIZIO,                             )
                                            )
                      Defendants.           )

    DEFENDANT JOLIET PARK DISTRICT’S MOTION TO QUASH AND/OR
LIMIT PLAINTIFF’S SUBPOENA DUCES TECUM DIRECTED TO THE SOTOS LAW
    FIRM, P.C. & JAMES SOTOS PURSUANT TO FEDERAL RULE OF CIVIL
                       PROCEDURE 45(C)(3)(A)(iii)


       Pursuant to Federal Rule of Civil Procedure 45(C)(3)(A)(iii), Defendant, JOLIET PARK

DISTRICT, by and through its attorneys, STELLATO & SCHWARTZ, L.T.D., files the

following Motion to Quash and/or Limit Plaintiff’s Subpoena Duces Tecum, and states as

follows:

       1.     On August 18, 2015, counsel for plaintiff issued a letter to the Joliet Park District

regarding claims which are the subject matter underlying plaintiff’s suit. In response, Ms. Marji

Swanson of Mahoney, Silverman, & Cross, LLC, acting as corporation counsel for the Joliet

Park District contacted James G. Sotos of the Sotos Law Firm, P.C., in order to explore his

availability to promptly conduct an independent investigation and provide legal advice to the

Board for the Park District concerning the allegations contained in Mrs. Potter’s letter. That

same day, the Board formally appointed the Sotos Law Firm to perform the investigation and

provide legal advice to the Board. The investigation itself began on August 19, 2016 and
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continued through September 25, 2015. During the investigation, James G. Sotos (or members

of his firm) review approximately 20,000 documents including emails, phone records, credit card

statements, compensation records, personnel files, and other documents and conducted 40

interviews of current and former employees of the Park District. All of the current and former

employees were provided “Upjohn warnings” advising that the Sotos Law Firm was retained to

act as attorneys for the Park District.

       2.      On August 15, 2016, counsel for plaintiff sent a Subpoena Ducs Tecum to James

G. Sotos, Esq. which was then resent with a date of service of 8/23/16 making the documents

requested due September 2, 2016. A copy of said Subpoena is attached hereto as Exhibit “1.”

Defendant now moves to Quash and/or limit the Subpoena because a portion of the responsive

documents are privileged pursuant to the Attorney/Client Privilege and Work Product Doctrine.

       3.      Of note, as this case had been previously set for a status conference before

Magistrate Valdez for September 1, 2016, it was agreed that the parties would address and

attempt to resolve any issues related to plaintiff’s subpoena and Defendant’s Motion to Quash at

that time.     Exhibit “1” contains a Rider (identified as Attachment A to Subpoena to the

Sotos Law Firm, P.C. & James Sotos) identifying 5 categories of documents requested by the

subpoena. The Rider is attached hereto as Exhibit “2.”

       4.      Defendant Joliet Park District has filed this Motion to Quash, pursuant to Federal

Rule of Civil Procedure 45(C)(3)(A)(iii) with regard to the production of items enumerated in

plaintiff’s Rider as Nos. 1, 2, and 4 as the documents requested are protected by the

Attorney/Client and Work Product Privileges. Defendant’s Privilege Log is attached hereto as

Exhibit “3.”
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       5.      Specifically, enumerated item No. 1 seeks “The complete report of the

investigation conducted by the Sotos Law Firm, P.C. and James Sotos relating to claims by Jeana

[sic] Matichak and/or Dominic Egizio (“the investigation(s)”); enumerated item No. 2 seeks “All

witness statements and all notes, summaries, transcripts, and/or recordings of interviews of

witnesses who were contacted and/or interviewed as part of the investigation(s);” and,

enumerated item No. 4 seeks “All documents reflecting the factual findings or determinations

related to the investigation(s).”

       6.      “The attorney-client privilege is the oldest of the privileges for confidential

communications known to the common law.” Upjohn Co. v. United States, 449 U.S. 383, 389,

101 S.Ct. 677, 66 L.Ed.2d 584 (1981) (citing 8 J. Wigmore, Evidence § 2290 (McNaughton

rev.1961)). “Its purpose is to encourage full and frank communication between attorneys and

their clients and thereby promote broader public interests in the observance of law and

administration of justice.” Id. To determine if a communication falls within the protection of the

attorney-client privilege, the court asks: (1) whether “legal advice of any kind [was] sought ...

from a professional legal adviser in his capacity as such”; and (2) whether the communication

was “relat[ed] to that purpose” and “made in confidence ... by the client.” Sandra T.E. v. S.

Berwyn Sch. Dist. 100, 600 F.3d 612, 618 (7th Cir. 2010) quoting United States v. Evans, 113

F.3d 1457, 1461 (7th Cir.1997).

       7.      Following Upjohn, when an attorney conducts a factual investigation in

connection with the provision of legal services, any notes or memoranda documenting client

interviews or other client communications in the course of the investigation are fully protected

by the attorney-client privilege. See, e.g., In re Allen, 106 F.3d 582, 602 (4th Cir. 1997) (“The

relevant question is not whether [the attorney] was retained to conduct an investigation, but
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rather, whether this investigation was related to the rendition of legal services.”United States v.

Rowe, 96 F.3d 1294, 1297 (9th Cir.1996) (emphasizing that Upjohn made “clear that fact-finding

which pertains to legal advice counts as ‘professional legal services'”).

       8.      Moreover, “the work-product doctrine is ‘distinct from and broader than the

attorney-client privilege.’” In re Special September 1978 Grand Jury (II), 640 P.2d 49, 62 (7th

Cir.1980) (quoting United States v. Nobles, supra, 422 U.S. at 238 n. 11, 95 S.Ct. at 2170

(1974)). It shields “documents and tangible things that are prepared in anticipation of litigation

or for trial by or for another party or its representative.” Fed.R.Civ.P. 26(b)(3). Specifically, the

doctrine “protect[s] against disclosure of the mental impressions, conclusions, opinions, or legal

theories of a party’s attorney or other representative concerning the litigation.” Id. Documents

not containing such impressions, conclusions, opinions, or legal theories are discoverable only

after “showing that the party seeking discovery has substantial need of the materials in the

preparation of the party’s case and that the party is unable without undue hardship to obtain the

substantial equivalent of the materials by other means.” Mattenson v. Baxter Healthcare Corp.,

438 F.3d 763, 768–69 (7th Cir.2006) (citing Hickman v. Taylor, 329 U.S. 495, 511–12, 67 S.Ct.

385, 91 L.Ed. 451 (1947); In re Cendant Corp. Securities Litigation, 343 F.3d 658, 663 (3d

Cir.2003)).

       9.      The work-product doctrine protects the materials at issue here from disclosure.

The work-product doctrine is designed to serve dual purposes: (1) to protect an attorney's

thought processes and mental impressions against disclosure; and (2) to limit the circumstances

in which attorneys may piggyback on the fact-finding investigation of their more diligent

counterparts. See, e.g., Hickman v. Taylor, 329 U.S. 495, 67 S.Ct. 385, 91 L.Ed. 451 (1947). In

Sandra T.E., a case involving a claim of sexual assault by a teacher, the District Court concluded
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that notes of witness interviews and related documents were not protected by the Work Product

Doctrine because the firm hired to perform the investigation was hired to act as an “investigator”

and not an “attorney.” Reaching this conclusion, the district court ordered the defendant to

produce the notes of the witness interviews.

       10.     However, the Seventh Circuit rejected this conclusion, noting that in the context

of a work-product claim in Harper & Row Publishers, Inc. v. Decker, 423 F.2d 487 (7th

Cir.1970) that “where an attorney personally prepares a memorandum of an interview of a

witness with an eye toward litigation, such memorandum qualifies as work product even though

the lawyer functioned primarily as an investigator.” At 621. Thus, work-product protection

applied to an attorney-led investigation when the documents at issue could “fairly be said to have

been prepared or obtained because of the prospect of litigation.” Sandra T.E. at 621–22, See also

Logan v. Commercial Union Ins. Co., 96 F.3d 971, 976–77 (7th Cir.1996). The Sandra T.E.

Court noted, “There is a distinction between precautionary documents ‘developed in the ordinary

course of business’ for the ‘remote prospect of litigation’ and documents prepared because ‘some

articulable claim, likely to lead to litigation, [has] arisen.’” Quoting, Binks Mfg. Co. v. Nat'l

Presto Indus., Inc., 709 F.2d 1109, 1120 (7th Cir. 1983) Id. at 621–22 (Italics in original).

       11.     As the document’s requested by plaintiff pursuant to her subpoena enumerated as

items Nos. 1, 2, and 4 seek the recommendations, findings, assessments of liability, potential

defenses, and the mental impressions of James G. Sotos and members of his Firm, who were

specifically retained by the Joliet Park District Board to perform an internal investigation

immediately after the Board received Ms. Potter’s letter threatening, or at the very least

insinuating the potential for litigation, it is clear that all of the documents responsive to the
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enumerated items (and as identified in the attached Privilege Log) are protected and plaintiff’s

Subpoena Duce Tecum seeking these specific items should be quashed.

       WHEREFORE, Defendant, JOLIET PARK DISTRICT, prays that this Honorable Court

enter an Order Quashing Plaintiff’s Subpoena Duce Tecum with regard to Rider Items Nos. 1, 2,

and 4 under Rule 45(C)(3)(A)(iii) and/or Modify the subpoena to eliminate disclosure of the

privileged matters contained in Defendant’s Privilege Log attached hereto as Exhibit “3” and for

all other relief this Court deems just and proper.

                                       Respectfully submitted,

                                       STELLATO & SCHWARTZ, LTD.



                                       By:    /S/ James C. Elder
                                               James C. Elder

03122109
STELLATO & SCHWARTZ, LTD.
Attorneys for Defendant - Joliet Park District
120 North LaSalle Street, 34th Floor
Chicago, Illinois 60602
(312) 419-1011
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